                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

 MCKENZI TAYLOR, individually and on
 behalf of all others similarly situated,

                           Plaintiff,                  Case No.: 4:19-cv-00110-NKL

 vs.                                                   Hon. Nanette K. Laughrey

 KC VIN, LLC, d/b/a
 PIZZA BAR, et al.,

                           Defendants.

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff McKenzi

Taylor and Defendants KC VIN, LLC, d/b/a Pizza Bar, The Cordish Companies, Inc., and

Entertainment Consulting International, LLC, by and through their undersigned counsel, hereby

stipulate and agree to the dismissal of Plaintiff’s claims with prejudice, with each party to bear

their own costs. This stipulation does not affect the claims of any putative class members.


                                                     Respectfully submitted,

                                                     MCKENZI TAYLOR,

Date: April 27, 2022                                 By: /s/ Michael Ovca
                                                          One of Plaintiff’s Attorneys

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                                           CORDISH COMPANIES, INC., and
                                           ENTERTAINMENT CONSULTING
                                           INTERNATIONAL, LLC,

Date: April 27, 2022                       By: /s/ Whitney M. Smith (with permission)
                                               One of Defendants’ Attorneys

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                                                    Inc., and Entertainment Consulting
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                                CERTIFICATE OF SERVICE

        I hereby certify that, on April 27, 2022, the foregoing document was electronically filed
with the Court’s Electronic Filing System and will be served electronically on all registered
attorneys of record.

                                                           /s/ Michael Ovca




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